Case 2:85-cv-04544-DMG-AGR Document 759-5 Filed 04/08/20 Page 1 of 8 Page ID
                                #:36177




                  EXHIBIT E
     Case 2:85-cv-04544-DMG-AGR Document 759-5 Filed 04/08/20 Page 2 of 8 Page ID
                                     #:36178



 1                            DECLARATION OF ELISA GAHNG
 2
 3   I, Elisa Gahng, declare as follows :
 4
 5   1.    This declaration is based on my personal knowledge. If called to testify in this
 6 case, I would testify competently about the following facts.
 7   2.    My name is Elisa Gahng and I am an attorney licensed to practice in the State of
 8   New York. This declaration describes my experiences and observations working with
 9   unaccompanied migrant youth detained at Cayuga Centers in New York City.
10
     Experience Serving Youth in ORR Custody
11
12   3.    Founded in 2008, KIND is the leading national organization that works to ensure
13   that no refugee or immigrant child faces immigration court alone. KIND provides
14   children with legal representation at no cost, and works for positive systemic change in
15   law and policy to improve the protection of unaccompanied immigrant and refugee
16   children. KIND also engages in programming in Central America and Mexico to promote
17   the best interests and protection of migrant children throughout the region. Since 2009,
18   KIND has received referrals for more than 20,000 children from 70 countries. KIND has
19   field offices in ten cities: Atlanta, Baltimore, Boston, Houston, Los Angeles, Newark,
20   New York City, San Francisco, Seattle, and Washington, DC. Legal services
21   professionals who serve children through KIND provide defense in removal proceedings
22   and pursue immigration benefits and relief for which their clients may be eligible. KIND
23   also employs social services coordinators throughout the country, providing
24   unaccompanied children with the support they need outside of the courtroom. Many of
25   KIND' s clients have fled severe violence and threats to their lives in their countries of
26   origin and may be eligible for asylum, special immigrant juvenile status, or other forms
27   of humanitarian protection. Most of these children arrived in the U.S. unaccompanied by
28   a parent or legal guardian, but some are members of families separated at the border.

                                            Declaration of Elisa Gahng

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     Case 2:85-cv-04544-DMG-AGR Document 759-5 Filed 04/08/20 Page 3 of 8 Page ID
                                     #:36179



 1 4.      I am the managing attorney overseeing the New York office of Kids in Need of
 2   Defense (KIND). I have worked at KIND since 2017.
 3   5.    KIND's offices in Seattle, Houston, San Francisco, New York, and Boston serve
 4   unaccompanied children in the legal custody of the Office of Refugee Resettlement
 5 ("ORR"). Since December 2019, KIND' s New York office has served unaccompanied
 6   children in the legal custody of the Office of Refugee Resettlement ("ORR") who have
 7 been placed by ORR at Cayuga Centers ("Cayuga"), a care program within the ORR
 8   network of care providers. Since December 2019, KIND has served over 465 youth at
 9   Cayuga. Although the majority of these youth come from Mexico, Honduras, Guatemala,
10   and El Salvador, youth placed at Cayuga may come from all over the world.
11   6.    As the legal services provider for children at Cayuga, our attorneys provide
12   ongoing presentations concerning the legal rights of detained minors and conduct legal
13   screenings to assess their eligibility for irmnigration relief. We provide ongoing legal
14   consultations to the children to whom we are providing direct legal representation, and
15   we assist other youth at Cayuga with guidance and by attending court hearings in a
16   capacity that the immigration courts tetm "friend of the court."
17
     Cayuga Centers
18
19   7.    I understand that Cayuga is licensed to provide transitional foster care and has
20   capacity for up to 900 youths, from infants through age seventeen. Children in this
21   program live with foster families in the New York City area and go to the shelter during
22   the day, where they receive educational services. The program primarily serves "tender-
23   aged" children, meaning that the majority of the children are under 12 years of age or are
24   especially vulnerable. As of April 7, 2020, the population at Cayuga was about seventy-
25   three children. Of those seventy-three children, forty-seven childre~ are twelve years old
26   or younger with twenty-one of them seven years old or younger. Six children are in
27   custody at Cayuga with their mothers who are also minors.
28
                                          Declaration of Elisa Gahng

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Case 2:85-cv-04544-DMG-AGR Document 759-5 Filed 04/08/20 Page 4 of 8 Page ID
                                #:36180
     Case 2:85-cv-04544-DMG-AGR Document 759-5 Filed 04/08/20 Page 5 of 8 Page ID
                                     #:36181



 1            c. One child had been accepted into a long-term foster care program and was
 2                "pending travel arrangements."
 3   12.   Among the fourteen children who were identified by Cayuga as having a "pending
 4   release date," eight have sponsors who are a biological parent and three have sponsors
 5   who are immediate relatives. The sponsors for these 14 children live in Alabama,
 6   Indiana, Louisiana, North Carolina, and Texas.
 7   13.   The Aptil 2 update document provided by Cayuga expressly refers to "COVID-19"
 8   or the "pandemic" as delaying steps in the reunification process, such as fmgerprinting of
 9   proposed sponsors or home study services, in the cases of at least nine children.
10   14.   The April 2 document further indicates that the release of six children, who
11   received removal orders in processes under the so-called "Migrant Protection Protocols,"
12   will be delayed until those children receive decisions on their appeals now pending with
13   the Board of Immigration Appeals ("BIA"). I first emailed the Federal Field Specialists
14   ("FFS") who review reunification applications on February 27, 2020 to inquire about
15   ORR's policy of reunifying children with removal orders. I was informed by the FFSs on
16   a phone call that they follow a protocol of consulting with Immigration and Customs
17   Enforcement ("ICE") prior to reviewing the release of any children at Cayuga who have
18   removal orders, in addition to reviewing evidence of any BIA appeal filings. On March
19   11, 2020 KIND staff attorney Gabriela Mendez emailed the ICE Field Office Juvenile
20   Coordinator ("FOJC") for New York to confirm that ICE was providing input on the
21   reunification of children who have removal orders. On March 13, 2020, the ICE FOJC
22   responded by stating that ICE does not get involved with the reunification process.
23   Following this email, on March 13, I emailed the FFSs, copying their supervisor, to
24   request further clarity on whether children with removal orders in ORR custody undergo
25   a different family reunification process from children without removal orders. On April
26   2, 2020, I elevated the issue further by emailing ORR Senior Federal Field Specialist
27   Supervisor to again request clarity on ORR's policy. On April6, 2020, one of the FFSs
28   acknowledged by email that I was pending a response on my question.

                                         Declaration of Elisa Gahng

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     Case 2:85-cv-04544-DMG-AGR Document 759-5 Filed 04/08/20 Page 6 of 8 Page ID
                                     #:36182



 1    15.   Between March 24 and April 7, 2020, no children have been released from Cayuga
 2   for reunification or transferred to another facility.
 3    16.   On April 7, 2020, I received a list of nineteen children from an assistant director of
 4    case management at Cayuga who "will be discharged in the coming days." These
 5    children include the fourteen children designated as "pending release date" and five
 6    children whose cases were either "pending FFS concurrence" or "pending FFS
 7    approval." The list does not include the child who has been accepted into a long-term
 8    foster care program and does not include the six children who received removal orders in
 9    processes under the so-called "Migrant Protection Protocols."
10   17.    I have made repeated requests for clarity and information about ORR's policy of
11   reunifying children with removal orders over the course of five weeks and have not been
12   provided any information.
13    18.   In the situations described above, ORR has needlessly delayed children's release
14    for reasons that do not meaningfully protect children' s safety.
15
     ORR COVID-19 Protocols
16
17    19.   KIND has requested that ORR provide guidance on the steps it is taking to prevent
18    the spread of COVID-19 among children in ORR care and among staff and service
19    providers. On March 10, 2020, KIND, along with many other organizations that serve
20    unaccompanied children in ORR custody, submitted a letter requesting that ORR
21    provide a briefing to address the steps that ORR is taking to ensure the safety of all
22    children in its care, as well as the safety of contractors such as legal service providers
23    like KIND.
24    20. To date, ORR' s published guidance includes information on steps to take if an
25    ORR care provider finds that a child has contracted COVID-19, but does not provide
26    further information about any precautionary measures that ORR facilities must take to
27    protect children, staff, or visitors from COVID-19.
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                                           Declaration of Elisa Gahng

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     Case 2:85-cv-04544-DMG-AGR Document 759-5 Filed 04/08/20 Page 7 of 8 Page ID
                                     #:36183




 1    21.   I was not informed by Cayuga or ORR regarding any temperature screenings or
 2    other risk screenings being conducted for children, staff or visitors. KIND staff last
 3    visited Cayuga on March 12, 2020 to meet with seven children. I understand that KIND
 4    staff did not experience any screening or other measures to prevent the spread of
 5    COVID-1 9 upon their arrival at Cayuga; their temperatures were not taken and they
 6    entered the facility without additional protocols. Following that visit, KIND
 7    commenced providing legal services to children at Cayuga by video conference in an
 8    effort to institute our own safeguards for staff and children.
 9    22.   On March 20, 2020, I received a phone call from Cayuga's vice president who
10    informed me that moving forward, Cayuga would be required to keep a maximum of
11    eight children in a room at any given time. For every four children, one Cayuga staff
12    member would be required to be present in the room. Therefore, there would be a
13    maximum often individuals in any given room.
14    23.   On March 31, 2020, Cayuga' s vice president called me to share that beginning on
15    ApriI 1, Cayuga would cease providing on-site services to the children in their custody.
16    She informed me that foster families were instructed to keep the children at home and
17    not to bring children to Cayuga for educational and other services.
18    24.    I have been informed by Cayuga staff that the following individuals have tested
19    positive for COVID-19:
20             a. Two staff members, including one case manager;
21             b. One foster parent, who subsequently died due to COVID-19 while two
22                unaccompanied children were in their care; and
23             c. One foster parent's partner who had exposure to two unaccompanied
24                children.
25   In the case of the foster parent who died due to COVID-19, the two unaccompanied
26   children in his or her care were not removed from the home until after the foster parent's
27   death. In the case of the foster parent's partner who had exposure to two children, I was
28   informed that the children would remain in that foster parent's care. When I inquired

                                          Declaration of Elisa Gahng

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     Case 2:85-cv-04544-DMG-AGR Document 759-5 Filed 04/08/20 Page 8 of 8 Page ID
                                     #:36184



 1   about whether the children would be isolated from the individual who tested positive,
 2   Cayuga staff stated that the children would be quarantined from the adult in question.
 3   Cayuga has declined to share the identities of the above children, so KIND has not been
 4   able to talk to the children to hear whether they have been appropriately quarantined
 5   according to local and state officials' guidance.
 6
 7   I declare under penalty of perjury that the foregoing is true and correct. Executed on this
 8   7th day of April, 2020, at Brooklyn, New York.
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                                          Declaration of Elisa Gahng

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